









Dismissed and Memorandum Opinion filed February 26, 2004









Dismissed and Memorandum Opinion filed February 26,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-03-01104-CR

____________

&nbsp;

RICHARD DAVID
BEHAM, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Criminal Court at Law No. 12

Harris County,
Texas

Trial Court Cause No.
1168056

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM








Judgment rendered
and Memorandum Opinion filed February 26, 2004.

Panel consists of
Justices Yates, Anderson and Hudson.

Do not publish C Tex.
R. App. P. 47.2(b).

&nbsp;





